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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

              Plaintiff,                     CR. NO. 17-20274

 v.                                          HON. BERNARD A. FRIEDMAN

 D-4   TAHERA SHAFIQ
 D-5   FARIDA ARIF
 D-7   HASEENA HALFAL
 D-8   ZAINAB HARIYANAWALA


           Defendants.
 _________________________________/

       MOTION AND BRIEF FOR RETURN OF PERSONAL PROPERTY

        NOW COMES the DEFENDANTS, TAHERA SHAFIQ, FARIDA ARIF,

 HASEENA HALFAL, and ZAINAB HARIYANAWALA, through their attorneys,

 and move this Honorable Court to order the return of personal property for the

 above-captioned individuals, to-wit, their telephones, for the reasons stated and

 authority cited herein:

        1. On November 20, 2018, the Court dismissed Counts One through Six of

           the Third Superseding Indictment against the above-captioned individuals,

           accordingly, there are no federal criminal charges currently pending

           against them.
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       2. On March 20, 2019, this Court ordered the termination of pre-trial

          supervision for above-Defendants and the return to them of “any and all

          personal belongings.” (R 399 Pg ID 2)

          Defendant Halfal

       3. Undersigned contacted the government for the return of Haseena Halfal’s

          phone and the government declined the request.

       4. On April 12, 2019, Counsel learned the Government will not be

          prosecuting an appeal on behalf of the Department of Justice.

       5. The government’s ongoing possession of Defendant Halfal’s phone or any

          of the Defendants’ phones has no future evidentiary value to them.

       6. As to Ms. Halfal, on April 10, 2017, a search warrant was executed at her

          home whereby she was required to submit her phone to agents during a

          “seizure.”

       7. During discovery, Counsel received numerous reports relative to Ms.

          Halfal’s phone, dated June 7, 2017 (FBI Summaries of Text Messages),

          May 1, 2017 (HTML Report), and other reports and derivations, all dated

          2017.

       8. There is no reason to believe that the government is conducting additional

          review or testing on Ms. Halfal’s phone, nor do they claim to be.




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       9. Rather, there is good cause to return the phone to Ms. Halfal, including the

           fact that her case has been dismissed:

       a. on the memory card for that phone, are all of her kids and family photos

           and videos;

       b. those photos and videos are precious to Ms. Halfal;

       c. those photos and videos cannot be replaced or restored as they were all on

           that phone and SD card during family trips and other events;

       d. also, on the phone, are her notes related to her religious school; and,

       e. finally, she has her resume and other important working docs on the SD

           card.

       10. Based upon the foregoing, this Honorable Court has the authority to

           Order the return of Defendant’s personal property, specifically, the mobile

           phone.

       WHEREFORE, DEFENDANTS, TAHERA SHAFIQ, FARIDA ARIF,

 HASEENA HALFAL, and ZAINAB HARIYANAWALA, respectfully request this

 Honorable Court to order the return of personal property for the above-captioned

 individuals, to-wit, their telephones, for the reasons stated and authority cited herein

                                  Respectfully submitted,

                                  /s/ Lisa L. Dwyer
                                  LISA L. DWYER
                                  Attorney for Haseena Halfal (D-7)

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                              /s/ Jerome Sabbota
                              JEROME SABBOTA
                              Attorney for Tahera Shafiq (D-4)

                              /s/ Anjali Prasad
                              ANJALI PRASAD
                              Attorney for Farida Arif (D-5)

                              /s/ Patricia A. Maceroni
                              PATRICIA A. MACERONI
                              Attorney for Zainab Hariyanawala



 Dated: April 15, 2019




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,                            Case No. 17-cr-20274
                                                     Hon. Bernard A. Friedman
         v.

 D-4    TAHERA SHAFIQ,
 D-5    FARIDA ARIF,
 D-7    HASEENA HALFAL, and
 D-8    ZAINAB HARIYANAWAL,

             Defendants.
 ___________________________________________/

                                CERTIFICATE OF SERVICE

          Lisa Dwyer (P 47961) hereby certifies that on April 15, 2019, I electronically filed the
 above-annexed pleading with the U.S. District Court, Eastern District of Michigan, Clerk of Court
 using the ECF/CM electronic filing system which will automatically send electronic notification
 of this filing to all attorneys of record for all parties.

                                             Respectfully submitted,

                                             /s/ Lisa Dwyer
                                             LAW OFFICE OF LISA DWYER, PC
                                             BY: LISA DWYER (P 47961)
                                             Counsel for Defendant
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